Case 1:21-cv-02818-JLK Document 50-4 Filed 01/21/22 USDC Colorado Page 1 of 4




                              EXHIBIT D
          Case 1:21-cv-02818-JLK Document 50-4 Filed 01/21/22 USDC Colorado Page 2 of 4
1/21/22, 10:45 AM                   UPDATE: Face Coverings and Other COVID Mitigation Requirements - Douglas County School District




                                                                                                                                      
              UPDATE: Face Coverings and Other
              COVID Mitigation Requirements                                                                                           
                                         Douglas County School
                    Adjustments
                    to COVID
                                         District » About » Leadership » Superintendent » Superintendent                              
                                         Messages » UPDATE: Face Coverings and Other COVID
                    Outbreak/Ex
                                         Mitigation Requirements
                    Notification
                                         UPDATE: Face Coverings and Other COVID Mitigation
                                         Requirements
                                                                                                                                      
                    Honoring             Posted on 12/08/2021
                    Dr. Martin
                    Luther
                    King, Jr.                                                    Español | русский | 中文                               
                                                                                 December 8, 2021
                    Returning
                    From                                                                                                              
                    Winter                                                       Dear DCSD Families,
                    Break -
                    COVID
                    Protocols
                                         Last night during a special meeting, the DCSD Board of
                                         Education voted 4-3 to adopt a resolution addressing face
                                                                                                                                      
                                         coverings and other COVID mitigation requirements in
                    UPDATE:              our school district.
                    Face
                    Coverings
                                                                                                                                      
                    and Other            As a result, effective immediately, DCSD’s mask
                    COVID                requirement is no longer in effect. DCSD will honor
                    Mitigation           personal and parent choice with regard to mask-wearing
                    Requiremen           at school. There are, however, a couple of exceptions:



https://www.dcsdk12.org/cms/One.aspx?portalId=220484&pageId=15157894                                                                      2/6
          Case 1:21-cv-02818-JLK Document 50-4 Filed 01/21/22 USDC Colorado Page 3 of 4
1/21/22, 10:45 AM                   UPDATE: Face Coverings and Other COVID Mitigation Requirements - Douglas County School District

                                                 Consistent with a federal public health order, students
                    Plans for
                    New Alt.                     and staff are still required to wear face masks on school
                    Ed. School                   buses.
                    &
                    Innovation                   As recognized in the Board of Education’s resolution and
                    Center                       by the Douglas County Board of Health, masking may be
                                                 required in individualized circumstances as an
                    Honoring                     accommodation under the ADA, Section 504, or the
                    Our                          IDEA. Students, staff, and volunteers should continue to
                    Veterans                     bring masks to school in the event they may be needed.
                    and Active                   In the case that masks are needed in certain situations to
                    Service
                    Members                      protect an individual with an accommodation under the                                
                                                 ADA, Section 504, or the IDEA, it will be done in a
                                                 manner that impacts the fewest number of individuals as
                    DCSD
                    Board of
                                                 possible and will additionally respect students and staff                            
                    Education                    who for medical reasons cannot tolerate a mask.

                                         Families needing accommodations related to ADA, 504 or
                    Court                IDEA should work with their school principal on determining                                  
                    Decision             potential plans and next steps.
                    Regarding
                    Public
                    Health               Additionally, DCSD will continue with its layered COVID                                      
                    Order                mitigation protocols which include:

                                                 Pursuant to CDC guidance, recommending (but not
                    DCSD                         requiring) the wearing of facial coverings.                                          
                    mask
                    requirement                  Encouraging frequent hand washing and providing
                    for
                    Monday                       access to hand sanitation stations.
                                                                                                                                      
                                                 Continuing with increased ventilation in buildings.
                    DCSD
                    Update
                    Regarding
                                                 Encouraging outdoor learning and activities where
                                                 possible.
                                                                                                                                      
                    Its
                    Masking                      Disinfecting frequently.
                    Requiremen
                                                 Implementing physical distancing where possible.
                                                                                                                                      
                    Clarification                Providing families and staff with information about
                    on Mask
                    Procedures                   COVID vaccination and testing opportunities.

                                                 Notifying families when their student may have been
                                                 exposed to COVID so they may screen for symptoms
https://www.dcsdk12.org/cms/One.aspx?portalId=220484&pageId=15157894                                                                      3/6
          Case 1:21-cv-02818-JLK Document 50-4 Filed 01/21/22 USDC Colorado Page 4 of 4
1/21/22, 10:45 AM                   UPDATE: Face Coverings and Other COVID Mitigation Requirements - Douglas County School District

                                                 and access COVID testing if desired.
                    Update:
                    Mask
                                                 Notifying staff members when they may have been
                    Wearing
                    and                          exposed to COVID so they may screen for symptoms
                    Quarantines                  and access COVID testing if desired.

                                         It is critical to note that the protocols listed above will be most
                    Update on            effective with the partnership of our families and staff. Please
                    DCSD
                    Universal            continue to do your part by keeping students home, and/or
                    Mask                 staying home yourself, when showing symptoms of illness.
                    Requiremen           Please reference this symptom screening document for
                                         guidance on when it is safe to return to school after illness.                               
                    Mask
                    Compliance           In alignment with the Board of Education’s resolution, DCSD
                    for
                    Visitors in
                                         will work to promote the appropriate balance between safety
                                         and an unconstrained learning environment.
                                                                                                                                      
                    Schools
                                         DCSD will continue to monitor COVID data in our schools and
                    Face                 community (see COVID tracker), and will consult with the
                                                                                                                                      
                    Coverings            Douglas County Board of Health, the Colorado Department of
                    Required
                    for P-K12            Public Health and Environment, and other agencies as
                                         appropriate as we continue to navigate the ongoing COVID                                     
                                         pandemic.
                    Update -
                    TCHD
                    Public               Thank you for your partnership in this journey.                                              
                    Health
                    Order

                    New
                                         Corey Wise
                                         Superintendent
                                                                                                                                      
                    Public               Douglas County School District
                    Health
                    Order -
                    Mask
                                                                                                                                      
                    Requiremen

                    Update on                                                                                                         
                    DCSD
                    COVID
                    Protocols
                    for 2021-
                    22


https://www.dcsdk12.org/cms/One.aspx?portalId=220484&pageId=15157894                                                                      4/6
